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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES          *                  CIVIL ACTION 05-4182
CONSOLIDATED LITIGATION               *
                                      *
PERTAINS TO:                          *                  SECTION “K” (2)
                                      *
Allen et al v. State Farm Fire and    *                  Judge Stanwood R. Duval, Jr.
Casualty Company, Case Number 07-5111 *
Judy Jones                            *
*************************************

                                            ORDER

       CONSIDERING THE FOREGOING:

       IT IS HEREBY ORDERED ADJUDGED AND DECREED, that the MOTION TO

ENFORCE SETTLEMENT AGREEMENT is GRANTED.

       Defendant, State Farm Fire and Casualty Company is hereby ordered to re-issue and then

forward to the office of Bruno & Bruno, LLP the $14,000.00 “Building” Coverage check made

payable to: Judy T. Jones, Bruno & Bruno, LLP, and Office of Community Development,

Division of Administration for the State of LA.

       New Orleans, Louisiana, this _________ day of __________, 2015.


                       ________________________________________
                        UNITED STATES DISTRCIT COURT JUDGE
